Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 1 of 24 Page ID #:133



   1   Robert J. Odson (State Bar No. 162506)
       Staci M. Tomita (State Bar No. 266309)
   2   Benjamin L. Hicks (State Bar No. 312765)
       SHUMENER, ODSON & OH LLP
   3   550 South Hope Street, Suite 1050
       Los Angeles, CA 90071-2678
   4   Tel: 213.344.4200; Fax: 213.344.4190
       Email: rodson@soollp.com
   5
       Attorneys for Crown Valley Holdings, LLC
   6

   7                       UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9

  10                                                 CASE NO. 8:22-cv-01091-DOC-KESx
       CROWN VALLEY HOLDINGS, LLC,
  11   a Delaware Limited Liability Company,         Judge: David O. Carter
  12                    Plaintiff,                   NOTICE OF MOTION AND
       v.
  13
                                                     MOTION TO REMAND AND
       AMCO INSURANCE COMPANY, an                    REQUEST FOR ATTORNEYS’
  14   Iowa Corporation; DOES 1 - 50,                FEES PURSUANT TO 28 U.S.C. §
       Inclusive,
  15
                                                     1447(C); MEMORANDUM OF
                        Defendants.                  POINTS AND AUTHORITIES
  16

  17
                                                     Hearing Date: August 1, 2022
                                                     Time: 8:30 a.m.
  18                                                 Trial Date: None
  19
                                                     Courtroom: 10 A

  20                                                 This motion is made following the
  21                                                 conference of counsel pursuant to L.R.
                                                     7-3 which took place on June 13, 2022
  22                                                 and June 22, 2022
  23

  24

  25

  26

  27

  28
                                               -1-
             MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 2 of 24 Page ID #:134



   1   TO THE COURT AND ALL PARTIES:
   2         PLEASE TAKE NOTICE THAT on August 1, 2022, at 8:30 a.m., in
   3   Courtroom 10 A of the above-captioned Court, located at 411 West Fourth Street,
   4   Santa Ana, CA 92701-4516, plaintiff Crown Valley Holdings, LLC (“Crown
   5   Valley”) will, and hereby does, move to remand this action, in its entirety, to the
   6   California Superior Court for the County of Orange, from where this action was
   7   removed by defendant AMCO Insurance Company (“AMCO”). Crown Valley’s
   8   motion is brought pursuant to 28 U.S.C § 1447, and on the basis that the Court
   9   lacks subject matter jurisdiction, because there is no diversity between Crown
  10   Valley and AMCO – which are both citizens of Ohio.
  11         AMCO removed this action based on diversity under 28 U.S.C. § 1332. In
  12   its Notice of Removal filed on June 1, 2022, AMCO stated that AMCO’s
  13   “headquarters is located at One Nationwide Boulevard, Columbus, Ohio, 43215.
  14   … Consistent with Tosco Corp. v. Communities for a Better Environment, 236
  15   F.3d 495 (9th Cir. 2001), and Industrial Techtonics, Inc. v. Aero Alloy, 912 F.2d
  16   1090 (9th Cir. 1990), the ‘substantial predominance’1 of AMCO’s business
  17   activities occur in the State of Iowa and the State of Ohio – not California or
  18   Delaware.” (Dkt. 1, p. 4.)
  19         As such, Crown Valley met and conferred with AMCO to obtain a stipulation
  20   for remand, since Crown Valley (as a limited liability company) has citizenship in
  21   the states of its members (and their partners), which includes Ohio. (Declaration of
  22   Steven A. Russell (“Russell Decl.”)). Only after Crown Valley informed AMCO
  23   that it was a citizen of Ohio did AMCO suddenly change its story and claim that its
  24   Notice of Removal was materially false, and it was not a citizen of Ohio.
  25   (Declaration of Robert Odson (“Odson Decl.”), ¶¶ 4-9, Ex. 1.)
  26
       1
         This test for “principal place of business” has been rejected by the Supreme Court
  27   in Hertz Corp. v. Friend, 559 U.S. 77 (2010), and was replaced with the “nerve
       center” test – the location from which a corporation’s directors control the business.
  28
                                                 -2-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 3 of 24 Page ID #:135



   1         AMCO’s reversal is, at best, disingenuous. In no less than eighteen (18)
   2   separate cases over the past eleven (11) years, AMCO represented to United States
   3   District Courts that its domicile and citizenship included the State of Ohio and that
   4   AMCO’s directors and officers directed AMCO’s business from the State of Ohio.
   5   (Declaration of Benjamin Sosnick (“Sosnick Decl.), ¶ 2, Exs. 1-21.) As recently as
   6   February 18, 2022, AMCO represented and admitted that “All of AMCO’s
   7   directors are located in the State of Ohio … As a result, AMCO is a citizen of
   8   both Ohio and Iowa.” (Sosnick Decl., Ex. 1 (emphasis added).) AMCO’s officers
   9   repeatedly declared under penalty of perjury that AMCO’s officers were located in
  10   and directed business from Ohio: “Defendant AMCO is and was a citizen of
  11   Iowa and Ohio at all relevant times…Its directors and officers work at
  12   AMCO’s office in Columbus, Ohio…The corporation’s highest level officers
  13   direct, control and coordinate the corporation’s activities from the Columbus,
  14   Ohio office.” (Sosnick Decl., Ex. 19; see also Sosnick Decl., Exs. 5, 20, 21.)
  15   Indeed, AMCO’s officers signed these declarations from Columbus, Ohio, where
  16   they admittedly direct AMCO’s business. (Id.)
  17         Thus, AMCO’s “nerve center” – where its directors and officers direct
  18   AMCO’s business – is in Columbus, Ohio. Hertz Corp. v. Friend, 559 U.S. 77, 96
  19   (2010) (even where the bulk of a corporation’s employees work in New Jersey, if
  20   the corporation’s directors control the business from New York, the principal place
  21   of business is New York – not New Jersey).
  22         Although AMCO now attempts to dispute the assertions it repeatedly made
  23   (under penalty of perjury), AMCO is estopped. AMCO obtained substantial
  24   benefits by claiming Ohio citizenship – i.e., removal jurisdiction – and even
  25   obtained Court orders confirming as much. The United States Supreme Court is
  26   clear that “intentional self-contradiction ... as a means of obtaining unfair
  27   advantage” is forbidden. New Hampshire v. Maine, 532 U.S. 742, 750–51 (2001);
  28   Iglesias v. Welch Foods Inc., 2017 WL 1227393, at *2 (N.D. Cal. Apr. 4, 2017).
                                                 -3-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 4 of 24 Page ID #:136



   1         The burden is on AMCO to establish complete diversity: “Removal and
   2   subject matter jurisdiction statutes are ‘strictly construed,’ and a ‘defendant seeking
   3   removal has the burden to establish that removal is proper and any doubt is resolved
   4   against removability.’” Hawaii ex rel. Louie v. HSBC Bank Nevada, N.A., 761 F.3d
   5   1027, 1034 (9th Cir. 2014). AMCO cannot do so here. Either it is misrepresenting
   6   facts to the Court now to avoid remand – or it repeatedly misrepresented the facts to
   7   the District Courts over the past eleven (11) years to obtain removal jurisdiction.
   8   (Sosnick Decl., Exs. 1-21.) The Court should not permit such intentional self-
   9   contradiction, which, at a minimum, leaves substantial doubt as to whether removal
  10   was proper. If there is any doubt, then this Court must remand.
  11         Crown Valley brings this motion pursuant to 28 U.S.C. § 1447(c), pursuant
  12   to which it is entitled to its “just costs and any actual expenses, including attorney
  13   fees, incurred as a result of the removal.” Crown Valley has incurred no less than
  14   $11,740 in costs to meet and confer with AMCO in an unsuccessful effort to obtain
  15   a stipulation to remand and to bring this motion – and Crown Valley anticipates
  16   incurring additional expenses before the resolution of this matter. (Odson Decl., ¶¶
  17   11-13.) Given AMCO’s tactics and misstatements to the Court, AMCO should be
  18   ordered to pay Crown Valley’s costs pursuant to 28 U.S.C. § 1447(c).
  19         Crown Valley’s motion is based on this notice of motion and motion, the
  20   memorandum of points and authorities attached hereto, the declarations of Steven
  21   A. Russell, Robert J. Odson, and Benjamin Sosnick, filed concurrently herewith,
  22   and such further oral and documentary evidence as may be introduced at or before
  23   the hearing of this matter.
  24
       Dated: June 30, 2022                    SHUMENER, ODSON & OH LLP
  25
                                               By
  26                                              ROBERT J. ODSON
                                                  STACI M. TOMITA
  27                                              BENJAMIN LEVENTHAL HICKS
                                                  Attorneys for Crown Valley Holdings, LLC
  28
                                                 -4-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 5 of 24 Page ID #:137



   1                                           TABLE OF CONTENTS
   2   I. INTRODUCTION ................................................................................................ 8
   3   II. STATEMENT OF FACTS................................................................................. 10
   4         A. AMCO Removes This Action Based On Diversity .................................... 10
   5         B. AMCO Changes Its Story After It Learns Crown Valley Is Also A
                Citizen Of Ohio And There Is No Diversity............................................... 11
   6

   7
             C. AMCO Made Repeated Assertions That It Is A Citizen Of Ohio.............. 12

   8   III. ARGUMENT ..................................................................................................... 17
   9         A. Legal Standard: AMCO Cannot Meet Its High Burden Of Proof ............. 17
  10          B. AMCO Cannot Deny Both It And Crown Valley Are Ohio Citizens ........ 18
  11          C. Crown Valley Is Entitled To Costs Including Attorneys’ Fees .................. 22
  12   IV. CONCLUSION .................................................................................................. 24
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                                -5-
                MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 6 of 24 Page ID #:138



   1                                        TABLE OF AUTHORITIES
   2   Cases
       Americold Realty Tr. v. Conagra Foods, Inc.
   3    577 U.S. 378 (2016) ........................................................................................ 17, 18
   4   Carden v. Arkoma Assocs.
        494 U.S. 185 (1990) .............................................................................................. 18
   5
       Circle Indus. USA, Inc. v. Parke Const. Grp., Inc.
   6     183 F.3d 105 (2d Cir. 1999) .................................................................................. 23
   7   De Leon v. Aurora Loan Servs.
        2009 WL 5065254 (C.D. Cal. Dec. 15, 2009) ................................................ 17, 18
   8
       Gaus v. Miles, Inc.
   9    980 F.2d 564 (9th Cir. 1992)........................................................................... 10, 17
  10   Hawaii ex rel. Louie v. HSBC Bank Nevada, N.A.
        761 F.3d 1027 (9th Cir. 2014)........................................................................... 4, 10
  11
       Hertz Corp. v. Friend
  12    559 U.S. 77 (2010) ......................................................................................... passim
  13   Iglesias v. Welch Foods Inc.
         2017 WL 1227393 (N.D. Cal. Apr. 4, 2017) .................................................... 3, 22
  14
       Johnson v. Columbia Properties Anchorage, LP
  15     437 F.3d 894 (9th Cir. 2006) ........................................................................... 17, 18
  16   Johnson-Brown v. 2200 M Street LLC
         257 F. Supp. 2d 175 (D.D.C. 2003) ...................................................................... 23
  17
       Kanter v. Warner-Lambert Co.
  18    265 F.3d 853 (9th Cir. 2001) ................................................................................. 22
  19   Kantor v. Wellesley Galleries, Ltd.
        704 F.2d 1088 (9th Cir. 1983)............................................................................... 17
  20
       Kokkonen v. Guardian Life Ins. Co. of Am.
  21    511 U.S. 375 (1994) .............................................................................................. 10
  22   Martin v. Franklin Cap. Corp.
        546 U.S. 132 (2005) .............................................................................................. 23
  23
       Matheson v. Progressive Specialty Ins. Co.
  24    319 F.3d 1089 (9th Cir. 2003)............................................................................... 17
  25   New Hampshire v. Maine
  26
        532 U.S. 742 (2001) ................................................................................ 3, 9, 21, 22

  27
       Provident Energy Assocs. of Montana v. Bullington
         77 Fed. Appx. 427 (9th Cir. 2003) ........................................................................ 17
  28
                                                                -6-
                MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 7 of 24 Page ID #:139



   1   Rolling Greens MHP, L.P. v. Comcast SCH Holdings, L.L.C.
        374 F.3d 1020 (11th Cir. 2004)............................................................................. 17
   2
       Sonoma Falls Developers, LLC v. Nevada Gold & Casinos, Inc.
   3     272 F. Supp. 2d 919 (N.D. Cal. 2003) .................................................................. 23
   4   Tosco Corp. v. Communities for a Better Environment
         236 F.3d 495 (9th Cir. 2001) ................................................................................... 2
   5
       Statutes
   6   28 U.S.C. § 1332............................................................................................... 2, 8, 20
   7   28 U.S.C. § 1332(c) ............................................................................................ 18, 19
       28 U.S.C. § 1447(C) ................................................................................... 1, 4, 22, 24
   8
       28 U.S.C § 1447.................................................................................................... 2, 23
   9   Cal. Bus. and Prof. Code §§ 17200 .......................................................................... 10
  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                                 -7-
                MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 8 of 24 Page ID #:140



   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2                                 I.     INTRODUCTION
   3         This Court lacks subject matter jurisdiction, and it should remand this
   4   action to the Superior Court of California for the County of Orange. AMCO
   5   removed this action based on purported diversity jurisdiction under 28 U.S.C. §
   6   1332. In its Notice of Removal, AMCO stated that AMCO’s “headquarters is
   7   located at One Nationwide Boulevard, Columbus, Ohio, 43215. … the
   8   ‘substantial predominance’ of AMCO’s business activities occur in the State of
   9   Iowa and the State of Ohio – not California or Delaware.” (Dkt. No. 1, p. 4.) To
  10   try to avoid unnecessary costs and motion practice, Crown Valley conferred with
  11   AMCO to obtain a stipulation for remand, since Crown Valley is also a citizen of
  12   Ohio. (Russell Decl., ¶¶ 2-7, Exs. A-C.) Then, after Crown Valley informed
  13   AMCO that it was also a citizen of Ohio, AMCO changed its story and claimed
  14   that its Notice of Removal was false, and it was not a citizen of Ohio. (Odson
  15   Decl., ¶¶ 4-9, Ex. 1.)
  16         AMCO’s reversal is disingenuous – at best – and, at worst, it is an attempt to
  17   mislead the Court to obtain removal jurisdiction where there is none. AMCO’s
  18   principal place of business – the “nerve center” from which its directors and
  19   officers direct the operation of its business – is Columbus, Ohio, and AMCO is a
  20   citizen of the State of Ohio. Hertz Corp. v. Friend, 559 U.S. 77, 96 (2010)
  21   (rejecting all other tests in favor of the “nerve center” test: “we conclude that the
  22   phrase ‘principal place of business’ refers to the place where the corporation's high
  23   level officers direct, control, and coordinate the corporation’s activities”).
  24         In at least eighteen (18) cases, AMCO made representations to United States
  25   District Courts that it is a citizen of Ohio and that AMCO’s directors and officers
  26   directed AMCO’s business from Ohio. (Sosnick Decl., ¶ 2, Exs. 1-21.) As recently
  27   as February 18, 2022, AMCO represented to the United States District Court:
  28
                                                 -8-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 9 of 24 Page ID #:141



   1
             All of AMCO’s directors are located in the State of Ohio … As a
   2         result, AMCO is a citizen of both Ohio and Iowa.
   3   (Sosnick Decl., Ex. 1.) AMCO’s officers repeatedly admitted in declarations sworn
   4   under penalty of perjury that AMCO’s officers were located in and directed
   5   AMCO’s business from Ohio:
   6         Defendant AMCO is and was a citizen of Iowa and Ohio at all
             relevant times…Its directors and officers work at AMCO’s office
   7         in Columbus, Ohio…The corporation’s highest level officers
             direct, control and coordinate the corporation’s activities from the
   8         Columbus, Ohio office. 2
   9   (Sosnick Decl., Ex. 19; see also Sosnick Decl., Exs. 5, 20, and 21.) Indeed,
  10   AMCO’s officers signed these declarations from Columbus, Ohio, demonstrating
  11   that they work from Ohio and this representation was no “mistake”. (Id.)
  12         Moreover, AMCO is estopped from denying Ohio citizenship. AMCO
  13   obtained substantial benefits by claiming Ohio citizenship – i.e., removal
  14   jurisdiction in case after case in Federal Court – and even obtained Court orders
  15   confirming as much. The United States Supreme Court was clear: “intentional self-
  16   contradiction ... as a means of obtaining unfair advantage” (e.g., jurisdiction in one
  17   case, but lack of diversity in another) is forbidden, and the party seeking to do so
  18   should be estopped. New Hampshire v. Maine, 532 U.S. 742, 750–51 (2001).
  19   AMCO’s attempt to “correct” its notice of removal to delete its Ohio citizenship –
  20   after it learned that Crown Valley shares its Ohio citizenship – is belied by its own
  21   admissions in over eighteen (18) cases and is a contrived attempt to avoid remand.
  22   The Court should not permit AMCO to repeatedly and routinely claim that it has
  23   citizenship in Ohio to obtain jurisdiction; then, when such citizenship destroys
  24   diversity, change its story.
  25

  26   2
        The language here directly mirrors the test articulated by the United States
       Supreme Court in Hertz, 559 U.S. at 80-81: “we conclude that the phrase ‘principal
  27   place of business’ refers to the place where the corporation's high level officers
       direct, control, and coordinate the corporation's activities”
  28
                                                 -9-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 10 of 24 Page ID #:142



    1         If this Court has any doubt, it must remand this case. “It is to be presumed
    2   that a cause lies outside this limited jurisdiction, and the burden of establishing the
    3   contrary rests upon the party asserting jurisdiction.” Kokkonen v. Guardian Life
    4   Ins. Co. of Am., 511 U.S. 375, 377 (1994). “Federal jurisdiction must be rejected if
    5   there is any doubt as to the right of removal in the first instance.” Gaus v. Miles,
    6   Inc., 980 F.2d 564, 566 (9th Cir. 1992). The burden is on AMCO – not Crown
    7   Valley. Hawaii ex rel. Louie v. HSBC Bank Nevada, N.A., 761 F.3d 1027, 1034
    8   (9th Cir. 2014) (“a ‘defendant seeking removal has the burden to establish that
    9   removal is proper and any doubt is resolved against removability.’”). AMCO
   10   cannot satisfy its burden. Either it is misrepresenting the truth now – or it
   11   misrepresented the truth about its citizenship repeatedly before District Courts
   12   across the country for over eleven (11) years. (Sosnick Decl., Exs. 1-21.) At a
   13   minimum, there is substantial doubt as to whether removal was proper and, as a
   14   result, the Court should remand this action.
   15                            II.     STATEMENT OF FACTS
   16      A. AMCO Removes This Action Based On Diversity
   17         On April 29, 2022, Crown Valley filed this action against AMCO, alleging
   18   that AMCO (i) violated its duties to Crown Valley (including the duty to defend
   19   Crown Valley in litigation in Orange County, California, and the duty fund such
   20   defense), (ii) violated its insurance contract with Crown Valley, (iii) violated (and
   21   continues to violate) Cal. Bus. and Prof. Code §§ 17200 by committing unfair
   22   business practices, and (iv) aided and abetted a breach of fiduciary duty by Crown
   23   Valley’s attorneys by directly interfering with Crown Valley’s attorney-client
   24   relationships. (Dkt. No. 1-2.)
   25         In the hopes of forum shopping and delaying the discovery properly served in
   26   state court, AMCO removed this action on June 1, 2022. (Dkt. No. 1.) In its
   27   Notice of Removal, AMCO stated that AMCO’s “headquarters is located at One
   28   Nationwide Boulevard, Columbus, Ohio, 43215. … the ‘substantial
                                                  -10-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 11 of 24 Page ID #:143



    1   predominance’ of AMCO’s business activities occur in the State of Iowa and the
    2   State of Ohio – not California or Delaware.” (Dkt. No. 1, p. 4.)
    3      B. AMCO Changes Its Story After It Learns Crown Valley Is Also A
    4         Citizen Of Ohio And There Is No Diversity
    5         On June 13, 2022, Crown Valley held a telephonic meet and confer with
    6   AMCO in advance of this motion and explained that, like AMCO, Crown Valley
    7   was a citizen of Ohio. (Odson Decl., ¶¶ 5-6, Ex. 1.) AMCO neither disputed that
    8   it was a citizen of Ohio nor claimed a mistake was made in its Notice of
    9   Removal. Rather, AMCO asked for concrete evidence that Crown Valley had
   10   members that were citizens of Ohio. (Id.) Crown Valley stated that it could
   11   provide a sworn declaration and documentation showing that it had members
   12   domiciled in Ohio. (Id.)
   13         Specifically, Crown Valley offered to show that its members are WCP Real
   14   Estate Fund II, L.P., WCP Real Estate Fund II(A), L.P., and WCP Real Estate Fund
   15   II(B), L.P. – each of which is a limited partnership. (Russell Decl., ¶¶ 3-4, Ex. A.)
   16   One of the limited partners in WCP Real Estate Fund II, L.P. is a limited liability
   17   company named Real Estate Capital Fund 2008, L.L.C. (Russell Decl., ¶ 5.) The
   18   managing member of Real Estate Capital Fund 2008, L.L.C. is a corporation named
   19   Falmouth Investment Company, Inc. (Russell Decl., ¶ 6, Ex. B.) Falmouth
   20   Investment Company, Inc. is a corporation incorporated in Ohio, with a principal
   21   place of business in Ohio. (Russell Decl., ¶ 7, Ex. C.) Therefore, Crown Valley is
   22   an Ohio citizen.
   23         Then, on June 16, 2022, after realizing that there was no diversity, AMCO
   24   changed its story and claimed it was not an Ohio citizen. (Odson Decl., ¶ 7, Ex. 1.)
   25   Crown Valley responded that AMCO’s reversal and assertion that its initial Notice
   26   of Removal contained false statements was concerning, and that it would further
   27   investigate. (Odson Decl., Ex. 1.) AMCO accused Crown Valley of “posturing”
   28   and threatened Crown Valley for contemplating a motion to remand. (Id.) The
                                                 -11-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 12 of 24 Page ID #:144



    1   parties then held a second meet and confer on June 22, 2022, at which time AMCO
    2   claimed its assertion of Ohio citizenship was a mistake. (Odson Decl., ¶¶ 8-9.)
    3   Crown Valley disagreed and encouraged AMCO to stipulate to remand. (Odson
    4   Decl., ¶¶ 9-10.) AMCO refused to do so, necessitating this motion.
    5      C. AMCO Made Repeated Assertions That It Is A Citizen Of Ohio
    6         Through its investigation, Crown Valley learned that it was not just in this
    7   action that AMCO claimed to be a citizen of Ohio. Rather, in at least eighteen (18)
    8   cases over the past eleven (11) years, AMCO removed actions to United States
    9   District Courts based on Ohio citizenship, including on the following dates:
   10      • February 18, 2022: Yantabulous v. AMCO Insurance Company, Case No.
   11         2:22-cv-01123. AMCO wrote in its notice of removal that “All of AMCO’s
   12         directors are located in the State of Ohio … As a result, AMCO is a citizen of
   13         both Ohio and Iowa.” (Sosnick Decl., Ex. 1.)
   14      • July 7, 2021: Walter R. Hardester, Inc. D/B/A Hardester’s Market v. AMCO
   15         Insurance Company, Case No. 3:21-cv-05244. In paragraph 5 of the notice
   16         of removal, AMCO wrote, “Defendant AMCO was, at the time of filing of
   17         the Superior Court Action, now is, and at all relevant times has been, a
   18         corporation organized and existing under the laws of the State of Ohio.”
   19         (Sosnick Decl., Ex. 2.)
   20      • June 11, 2021: Steven Henson v. AMCO Insurance Company, Case No.
   21         2:21-cv-04781. AMCO wrote in its notice of removal that “All of
   22         Defendant’s directors are located in the State of Ohio … Defendant is a
   23         citizen of both Ohio and Iowa.” (Sosnick Decl., Ex. 3.)
   24      • November 27, 2020: Flying V, LLC, et al. v. Nationwide Mutual Insurance
   25         Company, et. al., Case No. 2:20-cv-02370. In paragraph 3c of AMCO’s
   26         notice of removal, AMCO wrote, “AMCO is now, and since this action
   27         commenced has been, a corporation … with its principal place of business
   28         located in Ohio.” (Sosnick Decl., Ex. 4.)
                                                -12-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 13 of 24 Page ID #:145



    1           o In support of that notice of removal, Mr. Paul W. Dwight, declared –
    2              under penalty of perjury – that “I am familiar with the corporate
    3              structure as well as the location of principal place of business for …
    4              AMCO Insurance Company (‘AMCO’) … AMCO is now, and since
    5              this action commenced has been, a corporation … with its principal
    6              place of business located in Ohio.” (Sosnick Decl., Ex. 5.)
    7      • October 30, 2020: Carl Johnson v. Nationwide Mutual Insurance Company,
    8        et. al., Case No. 3:20-cv-00613. In paragraph 8 of AMCO’s notice of
    9        removal, AMCO wrote, “All of AMCO’s directors are located in the State of
   10        Ohio. AMCO’s officers direct, control, and coordinate the corporation’s
   11        activities both from Ohio and Iowa. As a result, AMCO is a citizen of both
   12        Ohio and Iowa.” (Sosnick Decl., Ex. 6.)
   13           o The plaintiff in that case moved to remand, and in response, the United
   14              States District Court entered an order that “AMCO … has its principal
   15              place of business in both Ohio and Iowa.” (Sosnick Decl., Ex. 7.)
   16      • August 10, 2020: Davey’s Locker Sportfishing, Inc. et. al. v. AMCO
   17        Insurance Company, Case No. 8:20-cv-01424. In paragraph 10 of AMCO’s
   18        notice of removal, AMCO wrote, “All of AMCO’s directors are located in
   19        the State of Ohio … As a result, AMCO is a citizen of both Ohio and Iowa.”
   20        (Sosnick Decl., Ex. 8.)
   21      • December 5, 2019: Ramin Javaherian, et. al. v. AMCO Insurance Company,
   22        Case No. 8:20-cv-01424. In paragraph 10 of its notice of removal, AMCO
   23        wrote, “All of AMCO’s directors are located in the State of Ohio … As a
   24        result, AMCO is a citizen of both Ohio and Iowa.” (Sosnick Decl., Ex. 9.)
   25      • November 15, 2019: Ramon Sanchez v. AMCO Insurance Company, Case
   26        No. 1:19-cv-01633. In paragraph 9 of its notice of removal, AMCO wrote,
   27        “All of AMCO’s directors are located in the State of Ohio … As a result,
   28        AMCO is a citizen of both Ohio and Iowa.” (Sosnick Decl., Ex. 10.)
                                               -13-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 14 of 24 Page ID #:146



    1      • October 15, 2019: Edward Dove v. AMCO Insurance Company, et. al.,
    2        Case No. 8:19-cv-03001. In paragraph 8 of its notice of removal, AMCO
    3        wrote, “AMCO is a corporation … with its principal place of business in
    4        Columbus, Ohio.” (Sosnick Decl., Ex. 11.)
    5      • July 11, 2019: APRO, LLC v. AMCO Insurance Company, Case No. 2:19-
    6        cv-05993. In paragraph 10 of its notice of removal, AMCO wrote, “All of
    7        AMCO’s directors are located in the State of Ohio … As a result, AMCO is a
    8        citizen of both Ohio and Iowa.” (Sosnick Decl., Ex. 12.)
    9      • April 4, 2019: Juliana Carvalho v. AMCO Insurance Company, Case No.
   10        5:18-cv-00687. In paragraph 12 of its notice of removal, AMCO wrote, “All
   11        of AMCO directors are located in Ohio. AMCO’s officers direct, control and
   12        coordinate the corporation’s activities from Ohio and Iowa.” (Sosnick Decl.,
   13        Ex. 13.)
   14      • May 3, 2019: Peter Kim, et. al. v. AMCO Insurance Company, Case No.
   15        2:19-cv-03856. In paragraph 9 of its notice of removal, AMCO wrote, “All
   16        of AMCO’s directors are located in the State of Ohio … As a result, AMCO
   17        is a citizen of both Ohio and Iowa.” (Sosnick Decl., Ex. 14.)
   18      • August 3, 2018: Shirley Gonsalves v. AMCO Insurance Company, Case No.
   19        2:18-cv-06678. In paragraph 19 of its notice of removal, AMCO wrote, “All
   20        of AMCO’s directors are located in the State of Ohio. AMCO’s officers
   21        direct, control and coordinate the corporation’s activities both from Ohio and
   22        Iowa.” (Sosnick Decl., Ex. 15.)
   23      • April 19, 2018: Urban Home, Inc. v. AMCO Insurance Company, Case No.
   24        2:18-cv-03271. In paragraph 8 of the notice of removal, AMCO wrote, “All
   25        of the AMCO directors are located in Ohio. AMCO’s officers direct, control
   26        and coordinate the corporation’s activities from Ohio and Iowa.”
   27           o In support of the removal, AMCO submitted the declaration of Mark
   28              E. Hartman, which was attached as Exhibit C to the notice. In his
                                               -14-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 15 of 24 Page ID #:147



    1              declaration, Mr. Hartman wrote, “I am the Associate Vice President
    2              and Assistant Secretary for AMCO … AMCO’s directors are located
    3              in Ohio.” Mr. Hartman, AMCO’s Associate Vice President, signed the
    4              declaration in Columbus, Ohio.
    5        (Sosnick Decl., Ex. 21.)
    6      • February 16, 2018: Steven Cash v. AMCO Insurance Co., et. al., Case No.
    7        3:18-cv-00369. In paragraph 11 of its removal, AMCO wrote, “[A]ll of its
    8        directors are located in the State of Ohio.” (Sosnick Decl., Ex. 16.)
    9           o In opposition to a motion to remand that matter, AMCO argued that
   10              “AMCO is a citizen of both Iowa and Ohio.” (Sosnick Decl., Ex. 17.)
   11      • January 12, 2016: Urban Home, Inc. v. AMCO Insurance Company, Case
   12        No. 2:16-cv-00231. In paragraph 11 of its notice of removal, AMCO wrote,
   13        “AMCO has directors located in Ohio and one director located in Iowa.
   14        AMCO’s officers direct, control and coordinate the corporation’s activities
   15        from Ohio and Iowa.” (Sosnick Decl., Ex. 18.)
   16      • September 11, 2015: USA Couture Corporation v. Nationwide Insurance
   17        Company, et. al., Case No. 2:15-cv-07191. In paragraph 11 of the notice of
   18        removal, AMCO wrote, “AMCO has directors located in Ohio and one
   19        director located in Iowa. AMCO’s officers direct, control and coordinate the
   20        corporation’s activities from Ohio and Iowa.”
   21           o In support of its removal, AMCO submitted the declaration of Robert
   22              Horner, III. In his declaration, Mr. Horner wrote, “I am the Vice
   23              President and Secretary for AMCO … AMCO has directors located in
   24              Ohio and one director located in Iowa. AMCO’s officers direct,
   25              control and coordinate the corporation’s activities from Ohio and
   26              Iowa.” Mr. Horner also signed the declaration in Columbus, Ohio,
   27              further showing that AMCO’s officers direct AMCO from Ohio.
   28        (Sosnick Decl., Ex. 20.)
                                               -15-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 16 of 24 Page ID #:148



    1      • March 2, 2011: Paul J. Brazeau v. Allied Insurance Company, et. al., Case
    2         No. 8:11-cv-00344. In its notice of removal, AMCO stated “Defendant
    3         AMCO is and was a citizen of Iowa and Ohio at all relevant times…Its
    4         directors and officers work at AMCO’s office in Columbus, Ohio…The
    5         corporation’s highest level officers direct, control and coordinate the
    6         corporation’s activities from the Columbus, Ohio office.”
    7            o In support of that removal, Ms. Carrie Ann Hall, Assistant Secretary
    8               for AMCO, declared under penalty of perjury that “AMCO’s directors
    9               and officers work at AMCO’s office in Columbus, Ohio…The
   10               corporation’s highest level officers direct, control, and coordinate the
   11               corporation’s activities from the Columbus, Ohio office.” Ms. Hall
   12               also executed the declaration from Columbus, Ohio.
   13         (Sosnick Decl., Ex. 19.)
   14   Over and over again, AMCO represented to United States District Courts that its
   15   directors and officers controlled AMCO’s business from the State of Ohio.
   16   (Sosnick Decl., ¶ 2, Exs. 1-21.) AMCO’s officers repeatedly wrote in declarations
   17   sworn under penalty of perjury that AMCO’s officers were located in and directed
   18   business from Ohio:
   19               Defendant AMCO is and was a citizen of Iowa and
   20               Ohio at all relevant times…Its directors and officers
                    work at AMCO’s office in Columbus, Ohio…The
   21               corporation’s highest level officers direct, control and
                    coordinate the corporation’s activities from the
   22               Columbus, Ohio office.
   23   (Sosnick Decl., Ex. 19.) Moreover, AMCO’s officers signed these declarations
   24   from Columbus, Ohio, demonstrating that they do, indeed, work from Ohio and
   25   these assertions were no “mistake.” AMCO’s claim that it was “mistaken” in its
   26   Notice of Removal regarding its Ohio citizenship is belied by the evidence,
   27   including its own repeated admissions to District Courts across the country.
   28         In sum, AMCO and Crown Valley are Ohio citizens – destroying diversity.
                                                -16-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 17 of 24 Page ID #:149



    1                                   III.    ARGUMENT
    2      A. Legal Standard: AMCO Cannot Meet Its High Burden Of Proof
    3         AMCO cannot meet its burden to obtain removal jurisdiction. As detailed
    4   herein, AMCO and Crown Valley are both citizens of Ohio, and the Court must
    5   strictly construe the basis for removal – which here is diversity that does not exist.
    6         The Court must “strictly construe the removal statute against removal
    7   jurisdiction.” Gaus, 980 F.2d at 566; Kantor v. Wellesley Galleries, Ltd., 704 F.2d
    8   1088, 1092 (9th Cir. 1983) (“[T]he congressional grant of diversity jurisdiction is to
    9   be strictly construed.”) (citation omitted). Indeed, “[f]ederal jurisdiction must be
   10   rejected if there is any doubt as to the right of removal in the first instance.”
   11   Gaus, 980 F.2d at 566 (citation omitted); Matheson v. Progressive Specialty Ins.
   12   Co., 319 F.3d 1089, 1090 (9th Cir. 2003) (“Where doubt regarding the right to
   13   removal exists, a case should be remanded to state court.”).
   14         “The ‘strong presumption’ against removal jurisdiction means that the
   15   defendant always has the burden of establishing that removal is proper.” Gaus, 980
   16   F.2d at 566. A notice of removal based on diversity of citizenship must set forth
   17   the citizenship of each party. E.g., Rolling Greens MHP, L.P. v. Comcast SCH
   18   Holdings, L.L.C., 374 F.3d 1020, 1021-22 (11th Cir. 2004) (“To sufficiently allege
   19   the citizenships of these unincorporated business entities, a party must list the
   20   citizenships of all the members of the limited liability company and all the partners
   21   of the limited partnership.”). “To establish the citizenship of a limited liability
   22   company, Defendant must, at a minimum, allege the citizenship of all members of
   23   the limited liability company.” De Leon v. Aurora Loan Servs., 2009 WL 5065254,
   24   at *1 (C.D. Cal. Dec. 15, 2009).
   25         The citizenship of a limited liability company is determined by the
   26   citizenship of each of its members. Johnson v. Columbia Properties Anchorage,
   27   LP, 437 F.3d 894, 899 (9th Cir. 2006); Provident Energy Assocs. of Montana v.
   28   Bullington, 77 Fed. Appx. 427, 428 (9th Cir. 2003); Americold Realty Tr. v.
                                                  -17-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 18 of 24 Page ID #:150



    1   Conagra Foods, Inc., 577 U.S. 378, 381 (2016). Similarly, the citizenship of a
    2   limited partnership is determined by reference to the citizenship of its partners.
    3   Carden v. Arkoma Assocs., 494 U.S. 185 (1990). Finally, the citizenship of a
    4   corporation is determined by its place of incorporation and its principal place of
    5   business. 28 U.S.C. § 1332(c) (A corporation “shall be deemed to be a citizen of
    6   any State by which it has been incorporated and of the state where it has its
    7   principal place of business”).
    8         AMCO cannot meet its burden. AMCO does not even attempt to properly
    9   allege Crown Valley’s citizenship (i.e., the ultimate citizenship of Crown Valley’s
   10   members). AMCO is required to establish that the ultimate owners of Crown
   11   Valley do not share citizenship with AMCO in any state that AMCO has
   12   citizenship. De Leon, 2009 WL 5065254, at *1. AMCO failed to do so – and, as
   13   detailed herein, the evidence establishes that both Crown Valley and AMCO are
   14   citizens of Ohio. AMCO cannot meet its burden and the Court should remand.
   15      B. AMCO Cannot Deny Both It And Crown Valley Are Ohio Citizens
   16         The evidence shows that both Crown Valley and AMCO are citizens of Ohio
   17   – and AMCO’s new assertions to the contrary are belied by its repeated admissions
   18   to United States District Courts across the country. If there is any doubt, the Court
   19   must remand; and here, there is no doubt – there is no complete diversity, and the
   20   Court lacks subject matter jurisdiction.
   21         First, Crown Valley is a citizen of Ohio, among other states. The citizenship
   22   of unincorporated companies is determined by reference to the citizenship of each
   23   of its members or partners. Johnson, 437 F.3d at 899; Americold Realty Tr., 577
   24   U.S. at 381; Carden, 494 U.S. 185.
   25         Here, Crown Valley’s members consist of WCP Real Estate Fund II, L.P.,
   26   WCP Real Estate Fund II(A), L.P., and WCP Real Estate Fund II(B), L.P. – each of
   27   which is a Delaware limited partnership. (Russell Decl., ¶¶ 3-4, Ex. A.) One of the
   28   limited partners in WCP Real Estate Fund II, L.P. is a limited liability company
                                                   -18-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 19 of 24 Page ID #:151



    1   named Real Estate Capital Fund 2008, L.L.C. (Russell Decl., ¶ 5.) The managing
    2   member of Real Estate Capital Fund 2008, L.L.C. is a corporation named Falmouth
    3   Investment Company, Inc. (Russell Decl., ¶ 6, Ex. B.) Falmouth Investment
    4   Company, Inc. is a corporation incorporated in Ohio, with a principal place of
    5   business in Ohio. (Russell Decl., ¶ 7, Ex. C.) Therefore, at least one of the
    6   ultimate members of Crown Valley is a corporation domiciled in Ohio – and Crown
    7   Valley is, thus, a citizen of Ohio, among other states.
    8         Second, as AMCO admitted in its initial notice of removal (and in more than
    9   eighteen (18) other removals across the country), AMCO is a citizen of Ohio and
   10   Iowa – thereby breaking diversity.
   11         The citizenship of a corporation is determined by its place of incorporation
   12   and its principal place of business. 28 U.S.C. § 1332(c). In determining where a
   13   corporation’s “principal place of business” is, the United States Supreme Court has
   14   rejected all other tests in favor of the “nerve center” test: “we conclude that the
   15   phrase ‘principal place of business’ refers to the place where the corporation's high
   16   level officers direct, control, and coordinate the corporation's activities. Lower
   17   federal courts have often metaphorically called that place the corporation's ‘nerve
   18   center.’” Hertz, 559 U.S. at 80–81 (rejecting all other tests – including the test
   19   relied on by AMCO in its removal papers – among the Circuit Courts and
   20   recognizing the need to make the “judicial administration of a jurisdictional statute
   21   to remain as simple as possible.”)
   22         The Supreme Court was clear in Hertz: what matters is the location from
   23   which the company’s “high level officers direct, control, and coordinate the
   24   corporation’s activities.” Hertz, 559 U.S. at 80-81. In Hertz, the Court found that
   25   even though a “plurality” of the corporation’s employees worked in California, that
   26   was immaterial – what mattered is the location from which the officers directed
   27   business. The Supreme Court recognized that this might mean that the “principal
   28   place of business” might not always be a company’s headquarters:
                                                 -19-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 20 of 24 Page ID #:152



    1                We also recognize that the use of a “nerve center” test
                     may in some cases produce results that seem to cut
    2                against the basic rationale for 28 U.S.C. § 1332,
                     see supra, at 1188. For example, if the bulk of a
    3                company's business activities visible to the public take
                     place in New Jersey, while its top officers direct those
    4                activities just across the river in New York, the “principal
                     place of business” is New York. One could argue that
    5                members of the public in New Jersey would be less likely
                     to be prejudiced against the corporation than persons in
    6                New York—yet the corporation will still be entitled to
                     remove a New Jersey state case to federal court. And
    7                note too that the same corporation would be unable to
    8
                     remove a New York state case to federal court, despite
                     the New York public's presumed prejudice against the
    9                corporation.

   10                We understand that such seeming anomalies will arise.
                     However, in view of the necessity of having a clearer
   11                rule, we must accept them. Accepting occasionally
                     counterintuitive results is the price the legal system must
   12                pay to avoid overly complex jurisdictional administration
                     while producing the benefits that accompany a more
   13                uniform legal system.
   14   Hertz, 559 U.S. at 96.
   15         No less is true here – while AMCO may argue its headquarters is in Iowa,
   16   AMCO’s highest level officers have sworn under penalty of perjury that they work
   17   in Columbus, Ohio, and direct AMCO’s business from Ohio. (Sosnick Decl., Exs.
   18   1-21.) Therefore, under the test articulated by the United States Supreme Court,
   19   AMCO is a citizen of Ohio – the same as Crown Valley.
   20         Third, AMCO is estopped from denying it is a citizen of Ohio. Only after
   21   Crown Valley informed AMCO that Crown Valley was also a citizen domiciled in
   22   Ohio did AMCO change its tune and claim that its Notice of Removal was false,
   23   and it was not a citizen of Ohio. (Odson Decl., ¶¶ 4-9, Ex. 1.)
   24         AMCO’s sudden reversal is completely without merit. As detailed herein,
   25   AMCO’s principal place of business – the location from which its officers direct the
   26   operation of its business – is Columbus, Ohio, and AMCO is a citizen of Ohio. In
   27   no less than eighteen (18) cases, AMCO made representations to the United States
   28   District Courts that its domicile and citizenship included Ohio and that AMCO’s
                                                 -20-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 21 of 24 Page ID #:153



    1   officers directed AMCO’s business from Ohio. (Sosnick Decl., ¶ 2, Exs. 1-21.)
    2         As recently as February 18, 2022, AMCO represented to the United States
    3   District Court that “All of AMCO’s directors are located in the State of Ohio …
    4   As a result, AMCO is a citizen of both Ohio and Iowa.” (Sosnick Decl., Ex. 1.)
    5   AMCO’s officers repeatedly wrote in declarations sworn under penalty of perjury
    6   that AMCO’s officers were located in and directed business from Ohio:
    7                Defendant AMCO is and was a citizen of Iowa and Ohio at
    8                all relevant times…Its directors and officers work at
    9                AMCO’s office in Columbus, Ohio…The corporation’s
   10                highest level officers direct, control and coordinate the
   11                corporation’s activities from the Columbus, Ohio office.3
   12   (Sosnick Decl., Ex. 19.) Confirming that this was no mistake, AMCO’s officers
   13   signed these declarations from Columbus, Ohio. (Id.)
   14         AMCO is judicially estopped from taking the contrary position that it is not a
   15   citizen of Ohio. Indeed, AMCO obtained benefits by claiming Ohio citizenship –
   16   removal jurisdiction – and even obtained Court orders stating as much. The United
   17   States Supreme Court is clear that “intentional self-contradiction ... as a means of
   18   obtaining unfair advantage” is forbidden. New Hampshire, 532 U.S. at 750–51.
   19         The Supreme Court in New Hampshire articulated three factors establishing
   20   circumstances in which estoppel should apply:
   21
              (1)    “a party's later position must be ‘clearly inconsistent’
   22                with its earlier position,”
   23
              (2)    “whether the party has succeeded in persuading a court to
   24                accept that party's earlier position, so that judicial
                     acceptance of an inconsistent position in a later
   25                proceeding would create ‘the perception that either the
                     first or the second court was misled,’” and
   26

   27   3
         This statement under penalty of perjury mirrors the test for principal place of
        business set forth by the United States Supreme Court in Hertz, 559 U.S. at 80-81.
   28
                                                 -21-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 22 of 24 Page ID #:154



    1
              (3)    “whether the party seeking to assert an inconsistent
    2                position would derive an unfair advantage or impose an
                     unfair detriment on the opposing party if not estopped.”
    3

    4   New Hampshire, 532 U.S. at 750-51 (collecting cases). In Iglesias v. Welch Foods
    5   Inc., 2017 WL 1227393, at *2 (N.D. Cal. Apr. 4, 2017), the Court further explained
    6   that “case law does not require that the inconsistency occur within the same case.”
    7         In Iglesias, the Court estopped Welch Foods Inc. from taking a contrary
    8   position regarding the location of its citizenship in a later action, when in a prior
    9   action it obtained remand by claiming it was not a citizen of a certain state. When
   10   Welch Foods Inc. took a contrary position in a later action to try to obtain federal
   11   jurisdiction, the Court rejected its attempt citing judicial estoppel.
   12         No less is true here: (i) AMCO is taking a position “clearly inconsistent”
   13   with its prior claim that it is a citizen of Ohio; (ii) the acceptance of its contrary
   14   claim “would create ‘the perception that either the first or the second court was
   15   misled” about AMCO’s citizenship; and (iii) AMCO “would derive an unfair
   16   advantage” by obtaining removal jurisdiction here where no diversity exists. New
   17   Hampshire, 532 U.S. at 750-51. Indeed, United States District Courts have ordered
   18   that AMCO is a citizen of Ohio based on AMCO’s representation in Oppositions to
   19   Motions to Remand. (E.g., Sosnick Decl., Ex. 7.) As such, judicial estoppel
   20   applies to prevent AMCO from changing its story to deny its citizenship in Ohio.
   21         In sum, both Crown Valley and AMCO are citizens of Ohio and there is no
   22   diversity. Therefore, the Court lacks subject matter jurisdiction, and the Court must
   23   remand. 28 U.S.C. § 1447(c).
   24      C. Crown Valley Is Entitled To Costs Including Attorneys’ Fees
   25         On granting a motion for remand, the Court may order a defendant to pay
   26   plaintiffs their “just costs and any actual expenses, including attorney fees, incurred
   27   as a result of the removal.” 28 U.S.C. § 1447(c) (emphasis added); Kanter v.
   28   Warner-Lambert Co., 265 F.3d 853, 861 (9th Cir. 2001) (affirming award of
                                                   -22-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 23 of 24 Page ID #:155



    1   attorneys’ fees incurred as a result of removal when district court remanded based
    2   on lack of complete diversity); Sonoma Falls Developers, LLC v. Nevada Gold &
    3   Casinos, Inc., 272 F. Supp. 2d 919, 927 (N.D. Cal. 2003) (“As removal of this case
    4   was improper, the court determines that an award of just fees and costs incurred as
    5   a result of removal is warranted, pursuant to 28 U.S.C. § 1447.”); Martin v.
    6   Franklin Cap. Corp., 546 U.S. 132, 138 (2005) (plaintiff need not prove that the
    7   removal was “frivolous, unreasonable, or without foundation” to obtain fees.).
    8         “Courts uniformly have held that a relevant factor for imposing costs and
    9   expenses is whether the removing party contradicts well-settled law in attempting to
   10   remove the case to federal court.” Johnson-Brown v. 2200 M Street LLC, 257 F.
   11   Supp. 2d 175, 181 (D.D.C. 2003). In Johnson-Brown, the court awarded costs and
   12   attorneys’ fees to the remanding plaintiff because the removing defendant failed to
   13   properly set forth the citizenship of party limited liability companies. Id.
   14         Here, the Court should award Crown Valley its costs and attorneys’ fees
   15   incurred because, among other things, AMCO failed to properly set forth Crown
   16   Valley’s citizenship, contradicting “well-settled law in attempting to remove the
   17   case to federal court,” and refused to stipulate to remand even after it was informed
   18   that Crown Valley and AMCO are not diverse. Johnson-Brown, 257 F. Supp. 2d at
   19   181. The purpose of the fee award is to protect a plaintiff from “abuse, unnecessary
   20   expense and harassment if a defendant removes improperly.” Circle Indus. USA,
   21   Inc. v. Parke Const. Grp., Inc., 183 F.3d 105, 109 (2d Cir. 1999).
   22         AMCO’s behavior here, in flip-flopping on its claimed citizenship – despite
   23   repeatedly representing to United States District Courts across the country that its
   24   principal place of business is in Ohio (and it is) – constitutes improper abuse and
   25   harassment, causing Crown Valley to incur unnecessary expenses.
   26         Crown Valley incurred no less than $11,740.00 in fees and costs related to
   27   the removal. (Odson Decl., ¶¶ 11-13.) Given AMCO’s tactics and misstatements
   28
                                                 -23-
               MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
Case 8:22-cv-01091-DOC-KES Document 17 Filed 06/30/22 Page 24 of 24 Page ID #:156



    1   to the Court and Crown Valley, AMCO should pay Crown Valley’s costs pursuant
    2   to 28 U.S.C. § 1447(c).
    3                                IV.    CONCLUSION
    4         Crown Valley respectfully requests the Court remand this matter to the
    5   Superior Court of California for the County of Orange and impose a cost award of
    6   $11,740.00 against AMCO.
    7
        Dated: June 30, 2022                 SHUMENER, ODSON & OH LLP
    8

    9                                        By
                                                  ROBERT J. ODSON
   10                                             STACI M. TOMITA
                                                  BENJAMIN LEVENTHAL HICKS
   11                                             Attorneys for Crown Valley Holdings, LLC
   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                               -24-
              MOTION TO REMAND; MEMORANDUM OF POINTS AND AUTHORITIES
